\\\\ Case 2:04-cr-

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¥§lED EY_-._’ ______ D.G. {!01‘<~,
IN THE UNITED sTA'rEs DISTRICT CoURT mill "3`" ‘m°~
05 JUN _7 PHF§_IL§HE WESTERN DISTRICT oF TENNESSEE __ , -
WESTERN DIvISIoN Zons‘lu" 6 PH 3‘25
.“-'iooert §§. Di 'z"iolio ROBEHT..V?. § `i`l-`iOLl\'T
UN;`T 13 _TJ _. ,.T RJCA, CLEeK, U.s elec cr“
"~”= § § RIEMFM W.o. ol= m stresses
Plaimiff,
vs, No. 04-20 56-MI
`H§`IIO'N seamen ~
LATRUNTA Y' HOUSTON> f’<,~t£.`t" I;¢MLA. JON PHIPPS Hee;tLLA
"»-`~_" ,, U. S. I I?_I *P
Defendant. `<§th\‘jB lzoeb ipqu D ST cT JUDG“

 
 
 

 

 

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MOTION .__j_'_ §PT RESETTING DME

 

Comes now counsel for Defendant, LATRUNTA Y. HOUSTON, and would
request this Honorable Court to consider a date for sentencing different from that on the
Notice of Re-Setting received on this date. Counsel has a pre-paid ethics seminar on
Wednesday, June 22, 2005, and said requirement must be met by July l, 2005.

In light of this predicament, any leeway that the court might offer would be
appreciated

RESP§C g Y UBMITZ\ED,

- " \ r\J\ "\

John P&§e` Pmchard \#10533

Attorne§ for Defenclant

243 Exchange Avenue

Memphis, TN 38105

Telephonet (90]) 527-6520
CERTIFICATE OF SERVICE

I, John Priest Pritchard, certify that a copy of the foregoing has been properly
served upon the office of Carroll L. Andre, Assistant United States Attorney, 800 Federal

Building, 167 North Main Street, Memphis, Tennessee 38103, via U.S. Mail, postage
pre-paid, on this the W day of 315 r~"€ , 2005

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>\\ld P)\JL.\\:*-l‘\ `P‘~'\§\_J

John Prth>Pritchard \ /\

Thls document entered on the docket sheet in cy'npliance f ‘
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UNITED `sATEs DISTRICT COURT - WSTERN D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 151 in
case 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Johnny Pritchard
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Memphis7 TN 38105

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

